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                     Ex. A
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Approved: ________________________________
          JARED LENOW
          Assistant United States Attorney

Before:     HONORABLE KEVIN NATHANIEL FOX

                                                  20 MAG 5114
            United States Magistrate Judge
            Southern District of New York

                                         SEALED COMPLAINT
UNITED STATES OF AMERICA
                                         Violations of 18 U.S.C. §§
      - v. –                             2, 1028A, and 1343

WILLIAM SADLEIR,                         COUNTY OF OFFENSE:
                                         NEW YORK
                  Defendant.




SOUTHERN DISTRICT OF NEW YORK, ss.:

     DANIEL MARDAKHAYEV, being duly sworn, deposes and says that
he is a Special Agent with the Federal Bureau of Investigation
(the “FBI”), and charges as follows:

                              COUNT ONE
                  (Wire Fraud – Advertising Scheme)

     1.   From at least in or about 2016, up to and including in
or about March 2020, in the Southern District of New York and
elsewhere, WILLIAM SADLEIR, the defendant, willfully and
knowingly, having devised and intending to devise a scheme and
artifice to defraud, and for obtaining money and property by means
of false and fraudulent pretenses, representations and promises,
and attempting to do so, transmitted and caused to be transmitted
by means of wire, radio, and television communication in interstate
and foreign commerce, writings, signs, signals, pictures, and
sounds for the purpose of executing such scheme and artifice, to
wit, SADLEIR, who was the chairman and chief executive officer of
Aviron Pictures, LLC (together with its affiliated entities,
“Aviron”), misappropriated millions of dollars in investor funds
from Aviron for his own personal use through fraud and deceit,
including through the use of a sham company he created to carry
out the scheme.

          (Title 18, United States Code, Sections 1343 & 2.)
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                              COUNT TWO
                      (Wire Fraud – UCC Scheme)

     2.   In or about 2019, in the Southern District of New York
and elsewhere, WILLIAM SADLEIR, the defendant, willfully and
knowingly, having devised and intending to devise a scheme and
artifice to defraud, and for obtaining money and property by means
of false and fraudulent pretenses, representations and promises,
and attempting to do so, transmitted and caused to be transmitted
by means of wire, radio, and television communication in interstate
and foreign commerce, writings, signs, signals, pictures, and
sounds for the purpose of executing such scheme and artifice, to
wit, SADLEIR caused the forging of the signature of one of the
managers of an investment fund (the “Fund”) that invested in Aviron
on documents used to remove liens on Aviron assets that secured
loans made by the Fund to Aviron, and SADLEIR then sold the Aviron
assets without the Fund’s consent.

       (Title 18, United States Code, Sections 1343 & 2.)

                            COUNT THREE
             (Aggravated Identity Theft – UCC Scheme)

     3.   In or about 2019, in the Southern District of New York
and elsewhere, WILLIAM SADLEIR, the defendant, willfully and
knowingly did transfer, possess, and use, without lawful
authority, a means of identification of another person, during and
in relation to a felony violation enumerated in Title 18, United
States Code, Section 1028A(c), to wit, SADLEIR possessed, used,
and transferred the name of another person in connection with the
wire fraud scheme charged in Count Two of this Complaint.

          (Title 18, United States Code, Section 1028A.)

     The bases for my knowledge and for the foregoing charge are,
in part and among other things, as follows:

     4.   I have been a Special Agent with the FBI since 2019. I
am currently assigned to a squad within the New York Division
responsible for investigating violations of federal securities
laws and related offenses.     I am familiar with the facts and
circumstances set forth below from my personal participation in
the investigation, including my examination of reports and
records, interviews I have conducted, and conversations with other
law enforcement officers and other individuals.      Because this
affidavit is being submitted for the limited purpose of

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establishing probable cause, it does not include all the facts
that I have learned during the course of my investigation. Where
the contents of documents and the actions, statements and
conversations of others are reported herein, they are reported in
substance and in part, unless noted otherwise.

                    RELEVANT ENTITIES AND INDIVIDUALS

     5.   From my review of documents from the Fund, financial
institutions, the State of Delaware, and an escrow company, as
well as public filings and other publicly-available information,
and from speaking with one of the individuals currently responsible
for managing Aviron Pictures, LLC, I have learned the following,
in substance and in part:

          a.   The   Fund  is   a   publicly-traded,  closed-end
investment fund. Shares in the Fund trade on the New York Stock
Exchange.    As of in or about December 2019, the Fund had
approximately $649.1 million in assets. The Fund was managed by
an investment adviser (the “Investment Adviser”) whose principal
place of business is New York, New York. The Investment Adviser
is registered as such with the United States Securities and
Exchange Commission (the “SEC”). The Investment Adviser in turn
utilized several other SEC-registered investment advisers (the
“Sub-Advisers”), which also have their principal places of
business in New York, New York, to perform the day-to-day
management of the Fund’s investments, including investments
relating to Aviron.

          b.   WILLIAM SADLEIR, the defendant, was the chairman
and chief executive officer of Aviron Pictures, LLC, and oversaw
its operations, from in or about 2015 until in or about December
2019.

          c.   At all times relevant to this Complaint, Aviron
Pictures, LLC, was a film production and distribution company based
in Los Angeles, California and formed under the laws of Delaware.
Aviron Pictures, LLC was founded in or about 2015, and participated
in the distribution of a number of films in the United States,
including My All American (2015), Kidnap (2017), The Strangers:
Prey at Night (2018), A Private War (2018), Destination Wedding
(2018), Serenity (2019), and After (2019).      SADLEIR and Aviron
Pictures, LLC operated through multiple related legal entities
also based in Los Angeles, California, and formed under the laws
of Delaware, including Aviron Capital, LLC, Aviron Releasing, LLC,
Aviron 1601, LLC, MAA Releasing, LLC, and Aviron Group, LLC, among


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other entities (collectively referred to herein as “Aviron”).1
Aviron Group formally operated as a holding company for Aviron
Pictures, Aviron Capital, and Aviron Releasing.

          d.   Temerity Trust Management, LLC (“Temerity Trust”)
was an entity controlled and used by SADLEIR to hold his ownership
interests in Aviron Group, among other things. SADLEIR also used
Temerity Trust to establish a sham entity used in furtherance of
the fraudulent scheme charged in Count One, and to purchase real
estate using the proceeds of that scheme. According to the Limited
Liability Company Agreement for Temerity Trust, SADLEIR’s spouse
(the “Spouse”) formed Temerity Trust under the laws of the State
of Delaware on or about October 14, 2015, and at or about the time
of its formation the Spouse was its sole member.2 As of at least
in or about 2017, SADLEIR held himself out as the Managing Member
of Temerity Trust.

          e.   An individual referred to herein as the “Aviron IT
Employee” was an information technology specialist employed by
Aviron from at least in or about 2017 through in or about April
2020.

                 OVERVIEW OF THE FRAUDULENT SCHEMES

     6.   As set forth below, WILLIAM SADLEIR, the defendant,
participated in two fraudulent schemes (together, the “Schemes”)
relating to an approximately $75 million investment made by the
Fund in Aviron.

     7.   In one of the schemes (the “Advertising Scheme”),
WILLIAM SADLEIR, the defendant, misappropriated millions of
dollars in funds from Aviron that had been invested in Aviron by
the Fund.   SADLEIR represented to the Fund that this money had
been invested by Aviron in pre-paid media credits3 with the
advertising    placement   company   MediaCom    Worldwide,    LLC
(“MediaCom”), which is a subsidiary of the advertising and media
agency GroupM Worldwide Inc. (“GroupM Worldwide”).        Instead,
SADLEIR, using the bank account for a sham entity he had created,
illicitly transferred out of Aviron over $25 million of those
funds. Specifically, SADLEIR created a sham New York-based company

1 When discussed individually herein, each of these entities is
referred to without the “LLC” aspect of its legal title.
2 The Spouse was also employed by Aviron.
3 Pre-paid media credits, also referred to as “up fronts,” are

advance payments for media advertising that can be redeemed for
specific media advertising at a later time.
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called GroupM Media Services, LLC (the “Sham GroupM LLC”) designed
to appear as if it was the legitimate entity, GroupM Worldwide,
and a corresponding bank account in the name of that sham entity.
SADLEIR then used a significant portion of those illicitly
transferred funds for his personal benefit, including to purchase
a private residence in Beverly Hills for approximately $14 million.
SADLEIR then falsely represented to the Fund that Aviron had
purchased an approximately $27 million balance in pre-paid media
credits with MediaCom that were available to promote future Aviron
films, and pledged a portion of those credits to the Fund as
collateral for additional loans, when in fact the claimed credits
did not exist due to SADLEIR’s misappropriation. As part of these
false representations, SADLEIR also created a fake identity of a
purported New York-based female employee of the Sham GroupM LLC
named “Amanda Stevens” who corresponded with a representative of
the Fund, ensuring the Fund that Aviron had an approximately $27
million balance in pre-paid media credits with the Sham GroupM
LLC.   In fact, SADLEIR himself posed as Amanda Stevens when
engaging in email exchanges with a representative from the Fund.

     8.   In the other scheme (the “UCC Scheme”), WILLIAM SADLEIR,
the defendant, engineered the illicit and fraudulent sale and
refinancing of assets worth an estimated $3 million that secured
the Fund’s loans to Aviron. The Fund had secured its investment
in Aviron by, among other means, obtaining UCC liens in 2017 and
2018 on certain intellectual property and other assets relating to
Aviron’s films. In 2019, SADLEIR used the forged signature of one
of the Fund’s portfolio managers (“Manager-1”)4 on releases to
remove the Fund’s UCC liens on certain of these secured assets in
order to sell or refinance them without the Fund’s consent, thus
depriving the Fund of its collateral on outstanding loans, loans
on which Aviron ultimately defaulted.

                          THE ADVERTISING SCHEME

                                 Background

     9.   From reviewing documents provided by the Fund, a bank
headquartered in New York, New York (“Bank-A”), a bank
headquartered in Pasadena, California (“Bank-B”), GroupM Worldwide
and MediaCom, and an escrow company that assisted WILLIAM SADLEIR,
the defendant, in his purchase of residential property (the “Escrow
Company”), I have learned the following, in substance and in part:




4   Manager-1 was a Managing Director at one of the Sub-Advisers.
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          a.   Aviron Pictures and MediaCom entered into a Master
Services Agreement made effective as of on or about August 1, 2015
(the “2015 MediaCom Agreement”), which included a provision
providing for the pre-purchase of discounted media by Aviron
Pictures from MediaCom and its affiliate GroupM Worldwide.
MediaCom and GroupM Worldwide are both based in New York, New York.

          b.    On or about October 20, 2015, the Fund agreed to
extend credit to Aviron Capital, a financing affiliate of Aviron
Pictures, to finance prints, advertising, marketing, and promotion
of feature-length motion pictures pursuant to a credit and security
agreement (the “Credit Agreement”). The Credit Agreement provided
for an initial loan of $12 million to finance the distribution of
the film My All American, among other things, and further provided
that the Fund may provide subsequent loans to finance additional
films. The Credit Agreement also gave the Fund a security interest
in intellectual property and other assets relating to My All
American. SADLEIR signed the Credit Agreement in his capacity as
the Manager of Aviron Capital. On the same date, October 20, 2015,
Aviron Group, which owned all equity in Aviron Capital and Aviron
Pictures, separately agreed to pledge its equity interests in those
wholly owned subsidiaries as collateral for the Fund’s extension
of credit to Aviron Capital (the “Equity Pledge Agreement”).
SADLEIR signed that agreement in his capacity as President of
Aviron Group.

          c.   Also on or about October 20, 2015, the Fund wired
approximately $12 million to an Aviron Capital account at Bank-B
with account number ending in 5748 (“Aviron Capital Bank Account-
1”).   At the time, SADLEIR was one of the individuals with
signatory authority over Aviron Capital Account-1.

          d.   On or about October 7, 2016, a certificate of
formation for the Sham GroupM LLC was filed in Delaware. According
to the Limited Liability Company Agreement for the Sham GroupM
LLC, its Manager was SADLEIR and its sole member was Temerity Trust
(whose Manager was listed as the Spouse).

          e.   On or about October 18, 2016, SADLEIR opened an
account at Bank-A in the name of the Sham GroupM LLC with account
number ending in 8082 (the “Sham GroupM Bank Account”). Statements
for the Sham GroupM Bank Account were mailed to the same address
on Wilshire Boulevard in Los Angeles, California as account
statements for Aviron.

          f.   On or about October 19, 2016, the Credit Agreement
was amended to provide for, among other things, the financing of


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an additional film, Drunk Parents.5 The amendment provided that
the entity Aviron 1601, LLC could serve as the direct borrower for
certain funds provided by the Fund in connection with Drunk
Parents.   SADLEIR signed the amendment in his capacity as the
Manager of Aviron Capital and the Manager of Aviron 1601.

          g.   On or about October 20, 2016, a Statement of
Information for the Sham GroupM LLC was filed with the California
Secretary of State, listing the entity’s place of organization as
Delaware, its Manager as “William K. Sadleir,” and its agent for
service of process as the Spouse.

          h.   On or about January 12, 2017, Aviron Pictures, the
Fund, and MediaCom entered into a letter agreement providing, in
substance and in part, that, upon request, unused funds from media
pre-purchases would be refunded to the Fund (or to Aviron, with
the Fund’s consent). SADLEIR signed the agreement in his capacity
as Manager of Aviron Pictures.

               SADLEIR’s Use of the Sham GroupM LLC
                 to Misappropriate Investor Funds

     10. From reviewing materials provided by the Fund, Bank-A,
Bank-B, GroupM Worldwide and MediaCom, and the Escrow Company, I
have learned the following, in substance and in part:

          a.   On or about February 24, 2017, the Fund wired
approximately $21 million to an account in the name of Aviron 1601,
LLC, at Bank-B, with account number ending in 8642 (the “Aviron
1601 Bank Account”), pursuant to the Credit Agreement.       At the
time, WILLIAM SADLEIR, the defendant, was one of the individuals
with signatory authority over the Aviron 1601 Bank Account. Per
agreement with the Investment Adviser, monthly statements for the
Aviron 1601 Bank Account were sent to both Aviron and the
Investment Adviser. Three days later, on or about February 27,
2017, SADLEIR caused $12,134,000 to be wired from the Aviron 1601
Bank Account to the Sham GroupM Bank Account. From reviewing bank
statements for the Sham GroupM Bank Account, the only expenditure
I was able to locate that appeared to relate to media or
advertising purchases or expenses was one $150,000 cashier’s check
drawn on the account on or about March 20, 2017 that was made out
to “MEDIACOM” from “Aviron Pictures” for the film Drunk Parents.6


5 Aviron Pictures ultimately did not serve as the distributor for
Drunk Parents.
6 It does not appear that the Sham GroupM LLC’s name would have



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Many of the other expenditures reflected in that account include
what appear to be personal expenditures by SADLEIR, such as the
following:

             i.   A $420,000 wire        transfer on or about June 21,
2017 to the Escrow Company for a         down payment on a residence in
Beverly Hills (the “Beverly Hills       Residence”) that SADLEIR agreed
to purchase on or about June 16,        2017 through Temerity Trust for
approximately $14 million.

            ii.   Thousands of dollars in other expenditures in
connection with SADLEIR’s purchase of the Beverly Hills Residence,
such as a wire of approximately $35,000 on or about September 21,
2016 to an interior design firm and checks totaling approximately
$1,776 for chimney inspectors in or about the summer of 2017.

           iii.   An approximately $27,000 wire transfer on or
about September 19, 2017 to a private jet charter company.

            iv.   An approximately $127,000 payment to Tesla
Motors on or about October 11, 2017.   From reviewing SADLEIR’s
Department of Motor Vehicles records, I have learned that he
currently owns a 2017 Tesla Model X.

          b.   On or about July 17, 2017, the Fund and Aviron
Capital entered into a note purchase and security agreement (the
“2017 Note Purchase Agreement”) to refinance the credit
arrangements under their earlier agreements and to provide
capacity to finance the distribution of additional movies by
Aviron, including Kidnap.      The 2017 Note Purchase Agreement
increased the amount of credit extended by the Fund to $75 million.
The agreement also gave the Fund a security interest in certain
intellectual property and other assets relating to the films My
All American, Drunk Parents, Kidnap, and potential future Aviron
films. SADLEIR signed the agreement in his capacity as Manager of
Aviron Capital. Also on or about July 17, 2017, the Fund entered
into an omnibus amendment agreement with Aviron Group, Aviron
Pictures, and MAA Releasing, providing, among other things, and in
substance and in part, that all references to the Credit Agreement
in the Equity Pledge Agreement would be replaced by references to
the 2017 Note Purchase Agreement, and affirming that the Equity
Pledge Agreement would remain in effect.       SADLEIR signed the



been printed on this cashier’s check. Rather, the bank records
indicate that it would have appeared to have been a check from
Aviron Pictures.
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amendment in his capacity as Manager of Aviron Group, Aviron
Pictures, and MAA Releasing.

           c.   On or about July 18, 2017, the Fund wired
$40,629,615.63 to Aviron Capital Bank Account-1. Also on or about
July 18, 2017, SADLEIR sent an email from a particular Aviron email
address (“Sadleir Aviron Email Account-1”) to a representative of
Bank-B, stating, in substance and in part, that “Aviron Capital
should be receiving an incoming wire from [the Fund] today in the
amount of 40,696,615.63 to its collection account, number ending
in 5748,” and providing instructions for the transfer of some of
those funds. A portfolio manager for the Fund (“Manager-2”)7, and
others, were copied on the email. A portion of those funds appears
to have been misappropriated by SADLEIR to pay for the purchase of
the Beverly Hills Residence through the following series of
transfers:

              i.  On or about August 10, 2017, approximately
$9,475,000 was wired from Aviron Capital Bank Account-1 to an
Aviron Capital account at Bank-A with account number ending in
3036 (“Aviron Capital Bank Account-2”). At the time, SADLEIR was
one of the individuals with signatory authority over Aviron Capital
Bank Account-2.    Approximately two months later, on or about
October 11, 2017, an additional approximately $4,250,642 was wired
from Aviron Capital Bank Account-1 to Aviron Capital Bank Account-
2.

            ii.   On or about October 16, 2017, approximately
$13,525,000 was transferred from Aviron Capital Bank Account-2 to
the Sham GroupM Bank Account.

           iii.   On or about October 17, 2017, approximately
$13,515,156.60 was wired from the Sham GroupM Bank Account to the
Escrow Company to pay for the Beverly Hills Residence. The nominal
purchaser of the Beverly Hills Residence was Temerity Trust, but
SADLEIR executed the purchase and escrow documents for the Beverly
Hills Residence as the Managing Member of, and Authorized Signor
for, Temerity Trust, and the Escrow Company that facilitated the
purchase dealt directly with SADLEIR as a representative of
Temerity Trust.     For example, in a June 21, 2017 email, a
representative of the Escrow Company emailed SADLEIR at Sadleir
Aviron Email Account-1, and said, in substance and in part, “Hello
Mr. Sadleir: Attached please find opening escrow paperwork for
your purchase [of the Beverly Hills Residence].”



7   Manager-2 was a Director at one of the Sub-Advisers.
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        SADLEIR’s Continued Misrepresentations Concerning
    the Sham GroupM LLC to Secure Additional Investment Funds

     11. From reviewing materials provided by the Fund, including
emails, an audio recording, and other materials; documents
provided by Bank-A; and documents from GroupM Worldwide and
MediaCom, as well as from speaking with a representative of GroupM
Worldwide, I have learned the following, in substance and in part:

          a.   On or about March 12, 2019, WILLIAM SADLEIR, the
defendant, sent an email to Manager-2 purporting to detail the
substantial pre-paid media credit assets held by Aviron Pictures’
financing affiliate, Aviron Capital. The email attached the 2015
MediaCom Agreement and documents “reflecting the payments to
GroupM Media Services,” and stated:

     Some of the payments were wired from other banks, and
     the payments Aviron Capital made were bank account
     transfers since GroupM banks at [Bank-A], as do we. . .
     . I’ll track down and forward the emails that detail
     how to have our own media planning company coordinate
     with GroupM’s media traffic desk to apply our banked
     national television media towards specific television
     campaigns for films being released by Aviron Pictures.

The signature block for SADLEIR’s email included a cellphone number
ending in 6969 (the “Sadleir Cellphone Number”).        One of the
attached documents was an accounting spreadsheet that purports to
reflect a total of $28,597,000 in pre-paid media credits purchased
by Aviron Capital between in or about November 2016 and in or about
January 2018.

          b.   On or about March 15, 2019, Manager-2 sent an email
to SADLEIR at another Aviron email address (“Sadleir Aviron Email
Account-2”), copying Manager-1, and stating, in substance and in
part, that the Fund needed resolution about whether $10 million of
Aviron Capital’s unused pre-paid media credits could be relied on
as collateral for potential additional loans from the Fund. On or
about March 18, 2019, SADLEIR responded to Manager-2 from Sadleir
Aviron Email Account-2, copying Manager-1, stating, in substance
and in part, “we have confirmation from GroupM that the national
television media that was banked remains available to Aviron
Pictures to use on future Aviron films, regardless of the fact
that we no longer use MediaCom (a GroupM company) as our
advertising agency.” Manager-2 in turn responded to SADLEIR at
Sadleir Aviron Email Account-2, copying Manager-1, stating, in
substance and in part, “[w]ithout receiving something in writing
from Group M, we have little certainty that they would take
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direction from us.   Perhaps, you could share a contact at the
comp[any [sic] and we would be glad to speak to them.” SADLEIR
replied to Manager-2 from Sadleir Aviron Email Account-2, copying
Manager-1, stating, in substance and in part, “GroupM wouldn’t
take direction from you because the contract is exclusively with
Aviron Pictures. But, we’d take direction for you.”

          c.    On or about March 22, 2019 and on or about March
25, 2019, the Fund, SADLEIR, Aviron Capital, and Temerity Trust
signed agreements providing for the extension of an additional $10
million in loan funds for use in connection with the film After.
Under these agreements, SADLEIR and Temerity Trust pledged their
entire membership interests in Aviron Group to secure the loans
from the Fund, with the entities owned by Aviron Group listed as
including Aviron Pictures; Aviron Releasing; and Aviron Capital
and its wholly owned subsidiaries, including MAA Releasing, LLC,
Aviron 1601, LLC, Aviron 1701, LLC, Aviron 1702, LLC, Aviron 1704,
LLC, Aviron 1705, LLC, Aviron 1706, LLC, and Aviron 1801, LLC.
Aviron Capital agreed to use unused pre-paid media credits with
“Group M, the parent of Mediacom” as collateral for the $10 million
in loans. SADLEIR was a signatory to those agreements on his own
behalf, and also in his capacity as Manager of both Aviron Capital
and Temerity Trust.

           d.  Between on or about March 25 and on or about March
26, 2019, the Fund wired a total of approximately $10 million to
an Aviron Capital account at Bank-A with account number ending in
0956 (“Aviron Capital Account-3”). At the time, SADLEIR was one
of the individuals with signatory authority over Aviron Capital
Account-3.

          e.   In a letter dated July 1, 2019 (but actually sent
on or about July 9, 2019), the Fund notified Aviron Capital, in
substance and in part, that Aviron Capital was in default on its
loan payments and other obligations.

          f.   On or about September 16, 2019, an individual in
the finance and accounting department at Aviron Pictures sent an
email to Manager-2, copying SADLEIR at Sadleir Aviron Email
Account-2, stating, in substance and in part, that the email was
attaching documents constituting the “backup given to the CPAs for
the $28,522,000 in Prepaid Media.” Those documents included, among
other things, purported MediaCom forms showing the pre-purchase of
approximately $27 million in media for Aviron, with instructions
that funds for the pre-purchase of media be wired to the Sham
GroupM Bank Account.     Four separate such forms, each bearing
SADLEIR’s signature, memorialize the following approximate
purported purchase amounts on or about the following dates:

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                i.      October 18, 2016: $2,557,800

               ii.      December 13, 2016: $460,000

              iii.      February 17, 2017: $12,134,200

               iv.      October 10, 2017: $13,525,0008

     12. Based on my discussion with a representative of
MediaCom, I have learned that these purchases never took place,
and that in or about September 2019 Aviron did not have a pre-paid
media balance with MediaCom or GroupM Worldwide.

    SADLEIR’s Use of the Fake “Amanda Stevens” Identity to Deceive
            the Fund into Continuing its Support of Aviron

     Sadleir Directs the Establishment of the Sham Company’s Web
           Presence and the “Amanda Stevens” Email Account

     13. From reviewing materials provided by the Fund, GroupM
Worldwide and MediaCom, telephone service providers T-Mobile,
Axion Communications (“Axion”), and Bandwidth.com, and internet
domain name registrar and website hosting and email service
provider GoDaddy.com, LLC (“GoDaddy”), as well as from speaking
with a representative of Axion and reviewing publicly available
content on the internet, I have learned the following, in substance
and in part:

           a.   The domain name “groupm-ms.com” was registered with
GoDaddy using a GoDaddy customer account (the “GoDaddy Account”)
on or about November 12, 2019. The administrator of the GoDaddy
Account   (the    “GoDaddy   Account    Administrator”)  identified
themselves to GoDaddy as “William Sadleir,” residing at the Beverly
Hills     Residence,     and     having     the    email    address
groupmms212@gmail.com (the “GroupM Gmail Address”) and the Sadleir
Cellphone Number. The name “William Sadleir” was also provided as
the technical, administrative, and billing contact for the GoDaddy
Account, and the domain and email hosting fees for groupm-ms.com
were paid for with an American Express card in the name of “William
Sadleir” with account number ending in 2000. However, as discussed
below, based on my review of customer service audio recordings and
phone records, it appears that the GoDaddy Account Administrator
was actually the Aviron IT Employee, who established and



8 No bank wiring information was listed on the October 10, 2017
form.
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administered   the   GoDaddy   Account    for   WILLIAM    SADLEIR,    the
defendant.

          b.   The email address “a.stevens@groupm-ms.com” (the
“Stevens Email Account”) was also established through the GoDaddy
Account on or about November 12, 2019. The purported user of the
Stevens Email Account was listed as “Amanda Stevens” and as being
located in the United States. However, as discussed in greater
detail below, based on my review of IP records, it appears that
SADLEIR was actually the user of the Stevens Email Account after
it was established by the Aviron IT Employee.

          c.   There is currently no website content hosted at the
internet   URL  www.groupm-ms.com.     However,   from   reviewing
historical internet content available at a website that preserves
archives of webpages, I was able to review content for that
website, and a screen capture of that content is posted below:




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          d.   For the sake of contrast, a screen capture9 of the
legitimate website for GroupM Worldwide, located at the URL
www.groupm.com, is depicted below:




          e.   Also on or about November 12, 2019, the same day
the Stevens Email Account was established, the Aviron IT Employee
contacted a representative of Axion (“Axion Representative-1”)
both by telephone (with a number ending in 2155, hereinafter the
“Aviron IT Employee Cellphone Number”)10 and through email (using
the GroupM Gmail Address) about establishing a voicemail account
on Axion’s network that would have a 212 area code. As discussed
above, both MediaCom and its parent company GroupM Worldwide are
based in New York, New York, and the 212 area code is associated
with that area.    Axion’s customer service system automatically
recorded a series of telephone calls from the Aviron IT Employee
on or about November 12, 2019.     During one of those calls, in
substance and in part, the Aviron IT Employee stated that he had
a “dilemma” for which he needed a “solution,” that he needed to
set up a number with a 212 area code and a voicemail box, and that
he did not need the 212 number to be capable of placing outgoing
calls. Axion Representative-1 noted that he did not have any 212
numbers available for purchase, but that the Aviron IT Employee
could try purchasing a 212 number from another provider and

9 This screen capture was taken on or about March 8, 2020.
10 In T-Mobile records, the subscriber for the Aviron IT Employee
Cellphone Number is listed as the Aviron IT Employee, although
with a different spelling of his first name.
                                   14
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transferring it to Axion to set up a voicemail box. The Aviron IT
Employee replied, in substance and in part, “I got to talk to my
boss about this and then I will, I will hit you back up.” In a
subsequent call on the same day, the Aviron IT Employee informed
Axion Representative-1, in substance and in part, that the Aviron
IT Employee was able to purchase a 212 number from another service
provider, and began arranging to have that number “ported” (i.e.,
transferred) to the Axion network.    Toll records show that the
Sadleir Cellphone Number and the Aviron IT Employee Cellphone
Number exchanged calls on or about November 12, 2019 after the
Aviron IT Employee Cellphone Number contacted Axion and stated
that he needed “to talk to my boss about this,” as reflected in
the table below:

 Time11       Caller                  Recipient             Duration
 10:57 a.m.   Aviron IT   Employee    Axion12               5:29
 1:35 p.m.    Aviron IT   Employee    Axion                 1:20
 3:33 p.m.    Aviron IT   Employee    Axion                 3:25
 3:39 p.m.    Aviron IT   Employee    Axion                 3:33
 4:23 p.m.    SADLEIR                 Aviron IT Employee    3:02
 4:26 p.m.    Aviron IT   Employee    SADLEIR               1:15

          f.   On or about November 13, 2019, the Aviron IT
Employee emailed Axion Representative-1 from the GroupM Gmail
Address, in substance and in part, “can you setup the email [for
the account] to the following and make the name Amanda instead of
Eddie please. a.stevens@groupm-ms.com”.    Axion Representative-1
replied to the GroupM Gmail Address, in substance and in part,
“Email address updated. The name on the extension isn’t used for
anything, so I just left it as Eddie so if you call in the guys
can find it easier.” On or about the same day, the GoDaddy Account
Administrator set up a two-factor authentication protocol for the
GoDaddy Account with a cellphone number ending in 2155 (the “2155
Authentication Number”), pursuant to which the user of the account
would be required to provide an authentication number texted to
that cellphone number in addition to using a standard password to
make certain changes to the account. GoDaddy account records do
not list the first six digits of the 2155 Authentication Number,
but, as noted above, the Aviron IT Employee Cellphone Number also
ends in 2155, and thus they appear to be the same phone number.
Further, I have compared Axion customer service audio recordings
of the Aviron IT Employee with GoDaddy customer service audio

11 All times listed in this Complaint are in Pacific Standard Time
unless otherwise noted.
12 From reviewing documents provided by Axion, I learned Axion’s

office telephone number, which ends in 1414.
                                     15
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recordings of the GoDaddy Account Administrator, and based on that
comparison the Aviron IT Employee appears to be the GoDaddy Account
Administrator. Thus, it appears that SADLEIR enlisted the Aviron
IT Employee in establishing a website for the Sham GroupM LLC and
an email account and voicemail box for “Amanda Stevens.”

         Sadleir Uses the “Amanda Stevens” Email Account to
                    Deceive the Portfolio Manager

          g.   On or about November 13, 2019, SADLEIR, using
Sadleir Aviron Email Account-2, sent an email to the Stevens Email
Account, copying Manager-2, and stating, in substance and in part,
“Dear Ms. Stevens: I understand you are likely the person who can
validate the available media balance on account for Aviron
Pictures. Aviron participated in the up-fronts in late 2016 and
again in 2017, but has not yet applied the media towards marketing
campaigns for our films. Can you please send me an accounting of
the Aviron Pictures media balance, along with information about
how it can be used, including possible refunds, and the equivalent
gross rating points associated with the purchased media?”      The
Stevens Email Account responded to SADLEIR at Sadleir Aviron Email
Account-2, copying Manager-2, on or about November 14, 2019, and
stating, in substance and in part, “Mr. Sadleir: We changed our
tracking systems earlier this year. To facilitate my search and
provide the information that you’re requesting, please tell me who
is (or was) Aviron Picture’s media agency of record when the media
purchases were made? Sincerely, Amanda.” The signature block for
that email is reproduced below:




The phone number listed in that signature block, (212) 299-4768,
is hereinafter referred to as the Stevens Phone Number.



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          h.   On or about November 14, 2019, the Aviron IT
Employee sent an email from his gmail account (the “Aviron IT
Employee Gmail Address”) to Axion Representative-1 with paperwork
for transferring the Stevens Phone Number from another service
provider to the Axion network.     That document identified the
existing billing contact information for the Stevens Phone Number
as “William Sadleir” at the Beverly Hills Residence.13

          i.   On or about November 15, 2019, the Stevens Email
Account sent an email to SADLEIR at Sadleir Aviron Email Account-
2, copying Manager-2, stating the following, in substance and in
part:

     The summary balance report for Aviron is attached. There
     remains a credit of $27,650,000 in total unused media
     purchases. Except for $250,000 for print in 2017, all
     of the media was purchased through the Up-front process
     for years 2017 and 2018.      Unused media purchased in
     conjunction with broadcast Up-fronts is refundable only
     the participation year, and then only with a 90-day
     advance notice. . . .      Finally, although the media
     credits are generally not transferable to other clients,
     we have worked creatively in past situations to help
     recover value for a client when their media requirements
     change.

SADLEIR responded to the Stevens Email Account on or about November
22, 2019 from Sadleir Aviron Email Account-2, copying Manager-2,
stating, in substance and in part, “can you please provide some
times you might be available for a call with me and my colleague,
[Manager-2], to review the possible options that you mention in
your last paragraph in the email below?” The Stevens Email Account
responded to SADLEIR at Sadleir Aviron Email Account-2, copying
Manager-2, “I’m away for the Thanksgiving holiday until December
2 but can speak with you and [Manager-2] upon my return, if
necessary.” Manager-2 replied to the Stevens Email Account, also
including SADLEIR at Sadleir Aviron Email Account-2, “Hi Amanda,
Thank you for the response. Can we proceed with setting up a time
to discuss upon your return.”

          j.   Also on or about November 15, 2019, the Aviron IT
Employee sent an email from the Aviron IT Employee Gmail Address

13From reviewing documents provided by Google, I have learned, in
substance and in part, that the account holder for the Aviron IT
Employee Gmail Address is the Aviron IT Employee and that the phone
number provided by that account holder for account authentication
and recovery purposes is the Aviron IT Employee Cellphone Number.
                                   17
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to Axion Representative-1 stating, in substance and in part, “Can
you please change the VM e-mail name to Amanda. Please.....” Axion
Representative-1 responded, in substance and in part, “It’s
already set to a.stevens@groupm-ms.com. Do you need me to change
something else?” The Aviron IT Employee replied, in substance and
in part, “Just the name that show’s up when a VM message is e-
mailed to that address. It say[s] Eddie.”

          k.   The Stevens Phone Number was assigned to the Axion
telephone network between on or about November 15, 2019 and on or
about March 6, 2020. During that time frame, the Stevens Phone
Number did not place any outgoing calls.

          l.   On or about December 3, 2019, the Stevens Email
Account emailed Manager-2 and SADLEIR at Sadleir Aviron Email
Account-2, in substance and in part, “[Manager-2]: I followed up
yesterday with my colleague who is pulling together the media
details that Mr. Sadlier [sic] requested.     He should have it
completed by tomorrow. It’s our busiest time of year, so please
excuse the delay.”

          m.   On or about December 16, 2019, the Fund sent a
letter to SADLEIR, Aviron Pictures, Aviron Capital, and Aviron
Group, asserting that the Fund would exercise its rights to
collateral under the loan and security agreements between the Fund
and those entities to take ownership of Aviron Pictures and Aviron
Capital and replace SADLEIR as Manager of those entities.

           n.  On or about December 17, 2019, the Fund filed a
lawsuit against SADLEIR and Aviron in New York Supreme Court,
seeking, among other things, to have SADLEIR removed from his
positions at Aviron Pictures and Aviron Capital. The lawsuit was
initially filed on an ex parte basis, and sought a temporary
restraining order, which was granted on the same day the lawsuit
was filed.

          o.   The next day, on or about December 18, 2019, the
Fund served a copy of the temporary restraining order on SADLEIR
and Aviron.

          p.   On or about December 19, 2019, the Fund’s request
for a preliminary injunction removing SADLEIR from his position at
Aviron Pictures and Aviron Capital was granted, and the Fund was
permitted to select a replacement Manager for those entities.

          q.   On or about January 6, 2020, GoDaddy records show
a login to the Stevens Email Account from an IP Address registered
to SADLEIR at the Beverly Hills Residence (the “Sadleir IP

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Address”).14 The Sadleir IP Address also logged in to the Stevens
Email Account on or about January 20, 21, 22, 23, 24, 27, 28, 29,
30, and February 17.

          r.    On or about January 16, 2020, the replacement
Manager for Aviron Pictures and Aviron Capital selected by the
Fund (the “Replacement Manager”), sent an email to the Stevens
Email Account, stating, in substance and in part, “Hi Amanda, I
just left you a voice mail. I’m the new manager of Aviron Pictures.
. . . I’d like to talk to you about the pre-paid media contract
summary, attached.”     The Stevens Email Account responded, in
substance and in part, “My authorized contact at Aviron is Mr.
Sadlier [sic]. Can you either have him confirm by email that you
are now the authorized representative of Aviron Pictures or provide
some other evidence upon which I can rely in responding to you.
Also, I’m on maternity leave, but working from home. If you can
please email the questions you have, I’ll do my best to provide
answers as quickly as possible.”

          s.   On or about January 22, 2020, the Stevens Email
Account sent an email to the Replacement Manager, stating, in
substance and in part, “I received your voicemail message. Please
send me an email with any questions, and I’ll do my best to respond
as quickly as possible. Thank you, Amanda”.        The Replacement
Manager responded, in substance and in part, “We’re requesting
full refund of the unused portion of the pre-paid media.       It’s
likely best to talk to you directly to discuss the process and
timing.” The Stevens Email Account replied, in substance and in
part, “We have already discussed this subject with Mr. Sadlier
[sic] at considerable length. I suggest you confer with him. . .
. I provided a general accounting to Mr. Sadlier [sic] of the
possible ‘credits’ that may be available at the various networks.”

          t.   On or about January 29, 2020, SADLEIR, using
Sadleir Aviron Email Account-2, sent an email to the Stevens Email
Account asking, in substance and in part, for an updated pre-paid
media credits report. On or about January 30, the Stevens Email
Account responded to SADLEIR at Sadleir Aviron Email Account-2,
adding the Replacement Manager as a recipient for the email and
attaching a list of media credits purportedly belonging to Aviron
that totaled approximately $27,650,000, and stating, in substance
and in part, “[w]hen you're ready to use the credits, simply have
your Agency of Record contact me, preferably with a media plan,
and we'll notify the various media companies.” The Replacement
Manager responded on or about February 4, 2020, dropped SADLEIR
from the email chain and added others, and asked, in substance and

14   GoDaddy does not possess IP login data for earlier dates.
                                      19
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in part, for additional documentation concerning Aviron’s pre-paid
media credits. The Replacement Manager also noted that “neither
Mr. Sadleir nor any other person or entity has the authority to
direct you how to use those credits except for me/Aviron Pictures
LLC.”

          u.   On or about January 30, 2020, counsel for Aviron
Pictures sent a letter to the Stevens Email Account, stating, in
substance and in part, “demand is hereby made for a refund to
Aviron for unused Pre-Paid Media in an amount of at least $27.65
million.”

          v.   On or about February 6, 2020, the Stevens Email
Account sent an email to the Replacement Manager, copying others,
and stating, in substance and in part, “I will be sending a reply
later today to the letter we received from Aviron’s attorney.”
The Replacement Manager responded the next day, on or about
February 7, stating, in substance and in part, that he had not yet
received the reply letter, and asking for confirmation of the email
address of GroupM Worldwide’s general counsel (the “GroupM
Worldwide General Counsel”).

          w.   On or about February 7, 2020, outside counsel for
Aviron Pictures sent a letter to the GroupM Worldwide General
Counsel, copying “Amanda Stevens” and others, and, in substance
and in part, reiterating a demand for a refund of Aviron Pictures’
pre-paid media credits. The letter also noted that “[a] copy of
our letter, dated January 30, 2020, to your colleague Amanda
Stevens on this matter is attached hereto.”

          x.   On or about February 8, 2020, the Stevens Email
Account sent an email to the Replacement Manager, copying SADLEIR
at Sadleir Aviron Email Account-2, counsel for Aviron, an associate
of the Replacement Manager, and Manager-2, and stating, in
substance and in part, “This is in response to the demand for a
refund notice that we received from Aviron Picture’s attorney,
dated January 30, 2020. We are not aware of any previous requests
by Aviron for a refund, as claimed in [Aviron’s counsel]’s letter.
Nonetheless, it is our position that no refunds will be made by
GroupM Media Services or any of the associated media companies and
that only media credits remain available to Aviron.”

          y.   On or about February 24, 2020, the GroupM Worldwide
General Counsel sent an email from her email address, ending in
“@groupm.com,” to outside counsel for Aviron Pictures, stating, in
substance and in part, “I acknowledge receipt of your letter dated
7 February 2020. Please note my correct contact details. I note
that you have sent the letter to an Amanda Stevens, I have no

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record of such a person so please do let me know if you have
received any response.   I will look into this matter with the
agency concerned and revert to you as soon as possible.”

          z.   On or about February 25, 2020, a call placed to the
Stevens Phone Number was directed to a voicemail box, which played
the following recorded message, in substance and in part, in what
appears to be a woman’s voice: “Hi, this is Amanda Stevens at
GroupM Media Services. I’m either on a call or away from my desk.
Please leave your name, number, and a brief message, and I’ll get
back to you. Thank you.”

          aa. On or about February 28, 2020, the GoDaddy Account
Administrator (who, as discussed above, appears to be the Aviron
IT Employee) deleted the mailbox for the Stevens Email Account.
Also on that date, SADLEIR and the Aviron IT Employee exchanged a
series of calls, and shortly thereafter the Aviron IT Employee
called Axion, as detailed in the table below:

Date/Time   Caller                 Recipient                Duration
1:55 p.m.   SADLEIR                Aviron IT Employee       No connect.
1:55 p.m.   Aviron IT   Employee   SADLEIR                  0:03
1:57 p.m.   Aviron IT   Employee   SADLEIR                  5:37
2:11 p.m.   Aviron IT   Employee   SADLEIR                  1:09
2:33 p.m.   Aviron IT   Employee   Axion                    2:44

Axion’s customer service system automatically recorded the
telephone conversation between the Aviron IT Employee and an Axion
representative (“Axion Representative-2”) on or about February 28,
2020.   During that call, the Aviron IT Employee requested, in
substance and in part, that Axion “cancel” the Stevens Phone Number
and “just let it be a dead end.”

        bb.    On or about March 2, 2020, at approximately 10:23
a.m., the Aviron IT Employee Cellphone Number placed an
approximately 10-minute phone call to the Sadleir Cellphone
Number.   Approximately one hour after that call, between 11:22
a.m. and 11:29 a.m., GoDaddy records show that the GoDaddy Account
Administrator cancelled his account registration and hosting of
the domain groupm-ms.com. Less than one hour later, at
approximately 12:09 p.m., the Aviron IT Employee Cellphone Number
placed a call to a GoDaddy customer service line. The Aviron IT
Employee Cellphone Number then placed two calls to Axion over the




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course of the next several hours.              The following table details
this series of phone calls:

 Date/Time    Caller                        Recipient        Duration
 10:23 a.m.   Aviron   IT   Employee        SADLEIR          10:08
 12:09 p.m.   Aviron   IT   Employee        GoDaddy15        8:22
 12:58 p.m.   Aviron   IT   Employee        Axion            0:25
 1:34 p.m.    Aviron   IT   Employee        Axion            4:54

From my review of Axion customer service recordings from on or
about March 2, 2020, I learned, in substance and in part, that in
the first phone call to Axion listed in the table above, the Aviron
IT Employee asked to speak with Axion Representative-1, but was
informed by Axion Representative-2 that Axion Representative-1 was
not in the office at the time.     In the second phone call, the
Aviron IT Employee asked Axion Representative-2, in substance and
in part, whether Axion had a means of looking up information about
a particular phone number to “see where it goes to,” and claimed
that his question related to a call the Aviron IT Employee had
received from someone trying to serve legal documents on one of
his relatives regarding a debt. Axion Representative-2 responded
that Axion previously used a particular website to look up
information about phone numbers, but that website was taken down.

        cc.    On or about March 4, 2020, the Aviron IT Employee
contacted the GoDaddy customer service line about the GoDaddy
Account, with customer service notes being made in the account’s
electronic file between approximately 12:54 p.m. and 1:07 p.m.
Phone records show an approximately 28 minute call from the Aviron
IT Employee Cellphone Number to GoDaddy at or about 12:38 p.m. on
the same day. The latter half of the ensuing call between the
Aviron IT Employee and a GoDaddy customer service representative
was recorded by GoDaddy. In the beginning of the call, according
to GoDaddy customer service notes, the Aviron IT Employee stated,
in substance and in part, that the Aviron IT Employee had deleted
his domain with GoDaddy but that the Aviron IT Employee’s account
information was still accessible on a GoDaddy internet domain
registration database.    As discussed above, that user account
information would have included the name “William Sadleir.”16 A

15 According to GoDaddy’s website, (480) 463-8390 is one of the
numbers for its sales and support team.
16 From reviewing documents provided by GoDaddy, I know that the

GoDaddy Account’s user contact information was shielded by a
privacy service from on or about November 12, 2019 to on or about
March 2, 2020. However, that information became visible on public


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GoDaddy representative informed the Aviron IT Employee, who the
GoDaddy representative referred to as “William,” in substance and
in part, that it takes time for user information to be removed
completely from GoDaddy’s domain registration database, and “it is
true that your name is still there, but don’t you worry. Like I
said, we will be able to make it disappear within this day.”

        dd.    The next day, on or about March 5, 2020, the Aviron
IT Employee Cellphone Number placed a call to the Sadleir Cellphone
Number that lasted for approximately two minutes and 17 seconds.

        ee.     On or about March 7, 2020, the Aviron IT Employee
contacted the GoDaddy customer service line again about the GoDaddy
Account, with customer service notes being made in the customer
file between approximately 3:03 p.m. and 3:25 p.m. Phone records
show an approximately 31 minute call from the Aviron IT Employee
Cellphone Number to GoDaddy at or about 2:53 p.m. on the same day.
The ensuing call between the Aviron IT Employee and a GoDaddy
customer service representative was recorded by GoDaddy. On that
call, the Aviron IT Employee identified himself as “William,” and
provided a customer number, PIN number, and a separate number
texted to the Aviron IT Employee(at the 2155 Authentication Number,
which as discussed above appears to be the Aviron IT Employee
Cellphone Number) during the call as part of a two-factor
authentication process.      The Aviron IT Employee stated, in
substance and in part, that his account information was still
accessible on a GoDaddy internet domain registration database
despite multiple requests to remove it, and that “I’m a very
private person and this was a venture I was going to do that I
decided not to and I’d like for it to be removed.” The GoDaddy
customer service representative responded, in substance and in
part, that the account information would be removed from GoDaddy’s
internet domain registration database that day.

        ff.    Three days later, on or about March 10, 2020, the
Aviron IT Employee Cellphone Number placed a call to the Sadleir
Cellphone Number that lasted for approximately two minutes and
seventeen seconds.

     14. From speaking with a representative of GroupM Worldwide
(the “Legitimate GroupM Representative”), I have learned, in
substance and in part, that the Sham GroupM LLC is not associated
in any way with GroupM Worldwide, and that neither the Stevens

internet domain registration databases when the GoDaddy Account
Administrator cancelled various account features, including a
privacy feature, when he deleted his domain registration on or
about March 2, 2020.
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Email Account nor the Stevens Phone Number have ever been used by
a GroupM Worldwide employee. Further, based on a review of records
for employees in the United States, the Legitimate GroupM
Representative has found no record of any GroupM Worldwide employee
named “Amanda Stevens.”

     15. Based on the foregoing, it appears that the Sham GroupM
LLC was created by WILLIAM SADLEIR, the defendant, to
misappropriate funds that SADLEIR claimed were provided to GroupM
Worldwide, that “Amanda Stevens” is a fake identity created at
SADLEIR’s direction, that the “Amanda Stevens” identity as well as
the Stevens Email Account and domain groupm-ms.com were created at
SADLEIR’s direction to conceal and further SADLEIR’s efforts to
misappropriate investor funds, and that SADLEIR himself posed as
Amanda Stevens when engaging in email exchanges with a
representative from the Fund.

                            THE UCC SCHEME

     16. From reviewing documents provided by the Fund, including
emails, contracts, affidavits and other documents filed in court
by the Fund, and other materials, and documents provided by the
Delaware Secretary of State, I have learned the following, in
substance and in part:

          a.   In or about 2017 and 2018, certain UCC filings were
made in Delaware to secure the Fund’s loans to Aviron.
Specifically, those UCC filings secured the Fund’s loan with
certain intellectual property and other assets relating to the
films My All American, Drunk Parents, Kidnap, The Strangers: Prey
at Night, Destination Wedding, and potential future Aviron films.

          b.   As discussed above, at least as early as on or about
July 9, 2019, the Fund notified Aviron that it had defaulted on
its loan payment obligations to the Fund.

          c.   On or about July 15, 2019 and on or about September
16, 2019, a law firm representing Aviron arranged for the
electronic filing of a total of approximately fourteen UCC
amendments with the Delaware Secretary of State representing that
the Fund consented to the deletion of its security interest in
certain intellectual property and other assets that served as
collateral for the Fund’s loans to Aviron (the “Fraudulent UCC
Filings”). Specifically, on or about July 15, 2019, an individual
in the law firm’s Los Angeles office filed a total of eleven UCC
amendments relating to the Fund’s secured interests in My All
American, Kidnap, The Strangers: Prey at Night, and Destination
Wedding, and on or about September 16, 2019, an individual in the

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law firm’s Manhattan office filed a total of three UCC amendments
relating to the Fund’s secured interests in The Strangers: Prey at
Night. These UCC amendments allowed Aviron to sell or refinance
several of the movie rights that served as collateral for the
Fund’s loans to Aviron. However, the Fund never in fact consented
to the Fraudulent UCC Filings or to the deletion of UCC liens on
the collateral set forth in those filings, and the representations
made to that effect in the filings were false. As set forth below,
the Fraudulent UCC filings appear to have been made based on
releases that contained forged signatures from a representative of
the Fund.17

          d.   The Fund has estimated that the assets sold or
refinanced by WILLIAM SADLEIR, the defendant, and Aviron as a
result of the Fraudulent UCC Filings were worth approximately $3
million.

          e.    On or about October 22, 2019, outside counsel for
the Fund sent an email to Aviron’s general counsel at the time
(the “Former Aviron General Counsel”), copying several other
lawyers for the Fund, stating, in substance and in part, that lien
searches on behalf of the Fund had revealed several UCC filings
“releasing collateral” and that “We’re trying to piece this all
together.    We’re familiar with the release for Strangers and
Destination Wedding (attached) but not the others or when/how [the
Fund] authorized the amendments. Can you give me a call to walk
me through this or let me know who I can contact at [Aviron’s
outside counsel]?” The Former Aviron General Counsel responded on
or about October 24, 2019, copying, among others, SADLEIR, and
stated, in substance and in part, that he had “not reviewed” the
Fraudulent UCC filings but that counsel for the Fund were “fully
involved” and “may even have commented on the very UCCs about which
you are inquiring – so for sure [the Fund] knew what it was doing
and why.”

          f.   On or about October 25, 2019, outside counsel for
the Fund sent another email to the Former Aviron General Counsel,
copying several other lawyers at the Fund, again inquiring about
the Fraudulent UCC filings and asking, in substance and in part,
“[w]ho is the best contact to discuss this with? Do you know who
at or on behalf of [the Fund] approved the UCC-3s?”        SADLEIR
responded to that email (for which SADLEIR was not a recipient)
using Sadleir Aviron Email Account-2, without copying anyone else,

17The releases themselves do not appear to have been filed with
the Secretary of State’s Office, but rather provided to counsel
for Aviron, who then filed the UCC amendments based on the
releases.
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stating, in substance and in part, “I’m probably the best contact
for now to discuss the license sales,” and, in a later email sent
the same day, that SADLEIR would “pull together funds flow you
asked for” and that “[w]e’ll get this cleaned up.”

          g.   On or about November 25, 2019, Manager-2 spoke with
SADLEIR by phone. During that call, SADLEIR stated, in substance
and in part, that SADLEIR sold certain motion picture rights—to
which the Fund had perfected security interests pursuant to the
2017 Note Agreement—to a third party (the “Third Party Buyer”),
and that SADLEIR had done so to pay the outstanding liabilities of
Aviron. When Manager-2 informed SADLEIR that SADLEIR needed the
Fund’s approval to do so, SADLEIR admitted that he had “f----d up”
and had taken the Fund’s signature pages from an unrelated
transaction to effectuate the fraudulent sale. After this phone
call, also on or about November 25, 2019, Manager-2 sent SADLEIR
an email asking him, in substance and in part, to “share as
promptly as possible the documents utilized to facilitate the sale
of assets to the Third Party Buyer and the detailed funds received
and the allocation of the same.” SADLEIR never responded to this
email.

          h.   On or about December 12, 2019, Los Angeles-based
outside counsel for Aviron sent an email to Chicago-based outside
counsel for the Fund attaching five purported signed releases from
the Fund that supported the filing of the Fraudulent UCC Filings
(the “Fraudulent Releases”). The Fraudulent Releases were dated
between on or about July 12, 2019 and on or about July 17, 2019,
related to interests in the films My All American, Kidnap, The
Strangers: Prey at Night, and Destination Wedding. Each of those
releases bears the purported signature of Manager-1.

          i.    As discussed above, on or about December 16, 2019,
the Fund sent a letter to SADLEIR, Aviron Pictures, Aviron Capital,
and Aviron Group, asserting that the Fund would exercise its rights
to collateral under the loan and security agreements between the
Fund and those entities to take ownership of Aviron Pictures and
Aviron Capital and replace SADLEIR as Manager of those entities.
The following day, on or about December 17, 2019, the Fund filed
a lawsuit against SADLEIR and Aviron in New York Supreme Court,
seeking, among other things, to have SADLEIR removed from his
positions at Aviron Pictures and Aviron Capital.

          j.   I have reviewed an affidavit signed by Manager-1,
and filed in New York Supreme Court in connection with the Fund’s
lawsuit against SADLEIR and Aviron, in which Manager-1 stated, in
substance and in part, that he did not sign the Fraudulent Releases
or authorize them.     Manager-1’s signatures on those documents
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appear to have been created by copying Manager-1’s signature from
other documents and pasting it on the Fraudulent Releases.

          WHEREFORE, deponent prays that an arrest warrant be
issued for WILLIAM SADLEIR, the defendant, and that SADLEIR be
imprisoned or bailed, as the case may be.


                              s/ Daniel Mardakhayev
                              ByKNF,USMJ
                              ______________________________
                              DANIEL MARDAKHAYEV
                              SPECIAL AGENT
                              FEDERAL BUREAU OF INVESTIGATION
Attested to before me by reliable electronic means this
18th day of May, 2020


___________________________________
HONORABLE KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK




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                      Ex. B
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